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 4                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 5                                   AT SEATTLE
 6
        IRONBURG INVENTIONS LTD.,
 7
                               Plaintiff,
 8                                                      C17-1182 TSZ-JPD
             v.
 9                                                      MINUTE ORDER
        VALVE CORPORATION,
10
                               Defendant.
11
        The following Minute Order is made by direction of the Court, the Honorable
12 Thomas S. Zilly, United States District Judge:

13          (1)    Defendant’s motion for stay, docket no. 190, is DENIED. The Court is
     persuaded that a stay of this matter during the pendency of Inter Partes Review (“IPR”)
14   proceedings before the Patent Trial and Appeal Board (“PTAB”), initiated by Collective
     Minds Gaming Co. Ltd., which is not a party to this case, would not serve to simplify this
15   case and might unduly prejudice plaintiff. See Supercell Oy v. Rothschild Digital Media
     Innovations, LLC, 2016 WL 9226493 at *2 (W.D. Wash. July 28, 2016) (outlining as
16   factors to consider in deciding a motion to stay: (i) the stage of the case; (ii) whether a
     stay would simplify the court proceedings; and (iii) whether a stay would unduly
17   prejudice or present a clear tactical disadvantage to the non-moving party).

18          (2)    The Clerk is directed to send a copy of this Minute Order to all counsel of
     record and to Magistrate Judge Donohue.
19
            Dated this 2nd day of August, 2018.
20
                                                      William M. McCool
21                                                    Clerk
22                                                    s/Karen Dews
                                                      Deputy Clerk
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     MINUTE ORDER - 1
